                                                                           Case 2:20-cv-02130-RFB-BNW Document 1 Filed 11/19/20 Page 1 of 16




                                                                      David Krieger, Esq.
                                                                 1
                                                                      Nevada Bar No. 9086
                                                                 2    Shawn Miller, Esq.
                                                                 3
                                                                      Nevada Bar No. 7825
                                                                      KRIEGER LAW GROUP, LLC
                                                                 4    2850 W. Horizon Ridge Parkway
                                                                 5    Suite 200
                                                                      Henderson, Nevada 89052
                                                                 6
                                                                      Phone: (702) 848-3855
                                                                 7    Email: dkrieger@kriegerlawgroup.com
                                                                      Email: smiller@kriegerlawgroup.com
                                                                 8

                                                                 9    Attorney for Plaintiff
                                                                 10
                                                                      WILLIAM BERRY

                                                                 11                        UNITED STATES DISTRICT COURT
                                                                                                DISTRICT OF NEVADA
KRIEGER LAW GROUP, LLC
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12
                               Henderson, Nevada 89052




                                                                 13
                                                                                                        :
                                                                                                          Civil Action No.:
                                                                 14   WILLIAM BERRY,                    :
                                                                                                        :
                                                                 15
                                                                                     Plaintiff,         :
                                                                                                          COMPLAINT FOR DAMAGES
                                                                 16        v.                           :
                                                                                                          PURSUANT TO THE FAIR
                                                                 17                                     :
                                                                                                          CREDIT REPORTING ACT, 15
                                                                      NATIONAL CONSUMER TELECOM :
                                                                 18                                       U.S.C. § 1681, ET SEQ.
                                                                      & UTILITIES EXCHANGE, INC;        :
                                                                 19   COX COMMUNICATIONS,               :
                                                                                                          JURY TRIAL DEMANDED
                                                                                                        :
                                                                 20
                                                                                     Defendants.        :
                                                                 21                                     :
                                                                 22
                                                                                                 INTRODUCTION

                                                                 23
                                                                         1. The United States Congress has found the banking system is dependent upon

                                                                 24         fair and accurate credit reporting. Inaccurate credit reports directly impair the
                                                                 25
                                                                            efficiency of the banking system, and unfair credit reporting methods
                                                                 26

                                                                 27         undermine the public confidence, which is essential to the continued
                                                                 28
                                                                        Case 2:20-cv-02130-RFB-BNW Document 1 Filed 11/19/20 Page 2 of 16




                                                                         functioning of the banking system. Congress enacted the Fair Credit
                                                                 1

                                                                 2       Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”), to ensure fair and accurate
                                                                 3
                                                                         reporting, promote efficiency in the banking system, and protect consumer
                                                                 4

                                                                 5       privacy. The FCRA seeks to ensure consumer reporting agencies exercise
                                                                 6
                                                                         their grave responsibilities with fairness, impartiality, and a respect for the
                                                                 7
                                                                         consumer’s right to privacy because consumer reporting agencies have
                                                                 8

                                                                 9       assumed such a vital role in assembling and evaluating consumer credit and
                                                                 10
                                                                         other information on consumers. The FCRA also imposes duties on the
                                                                 11
                                                                         sources that provide credit information to credit reporting agencies, called
KRIEGER LAW GROUP, LLC
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12
                               Henderson, Nevada 89052




                                                                 13
                                                                         “furnishers.”
                                                                 14
                                                                      2. Through a tightly wound set of procedural protections, the FCRA protects
                                                                 15

                                                                 16      consumers from the material risk of harms that otherwise flow from inaccurate
                                                                 17
                                                                         reporting. Thus, through the FCRA, Congress struck a balance between the
                                                                 18

                                                                 19      credit industry’s desire to base credit decisions on accurate information, and
                                                                 20
                                                                         consumers’ substantive right to protection from damage to reputation, shame,
                                                                 21
                                                                         mortification, and the emotional distress that naturally follows from
                                                                 22

                                                                 23      inaccurate reporting of a consumer’s fidelity to his or her financial
                                                                 24
                                                                         obligations.
                                                                 25

                                                                 26   3. WILLIAM BERRY (“Plaintiff”), by Plaintiff’s attorneys, brings this action
                                                                 27
                                                                         against   COX     COMMUNICATIONS             (“COX”)      and    NATIONAL
                                                                 28
                                                                         Case 2:20-cv-02130-RFB-BNW Document 1 Filed 11/19/20 Page 3 of 16




                                                                          CONSUMER TELECOM & UTILITIES EXCHANGE, INC (“NCTUE”)
                                                                 1

                                                                 2        (jointly, “Defendants”) for violations of the FCRA, as set forth below.
                                                                 3
                                                                                                    JURISDICTION AND VENUE
                                                                 4
                                                                      4. This Court has federal question jurisdiction because this case arises out of
                                                                 5

                                                                 6        violations of the FCRA. 15 U.S.C. § 1681 et seq.; 28 U.S.C. § 1331; Smith v.
                                                                 7
                                                                          Community Lending, Inc., 773 F.Supp.2d 941, 946 (D. Nev. 2011).
                                                                 8

                                                                 9
                                                                      5. Venue is proper in the United States District Court for the District of Nevada

                                                                 10       pursuant to 28 U.S.C. § 1391(b) because Plaintiff is a resident of Clark
                                                                 11
                                                                          County, Nevada and because Defendants are subject to personal jurisdiction
KRIEGER LAW GROUP, LLC
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12

                                                                          in Clark County, Nevada; conduct business in Clark County, Nevada; and the
                               Henderson, Nevada 89052




                                                                 13

                                                                 14
                                                                          events giving rise to this action occurred in Clark County, Nevada.
                                                                 15

                                                                 16
                                                                                                          PARTIES

                                                                 17
                                                                      6. Plaintiff is a natural person residing in the County of Clark, State of Nevada. In

                                                                 18       addition, Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
                                                                 19
                                                                          1681a(c).
                                                                 20

                                                                 21   7. Cox is a corporation doing business in the State of Nevada.
                                                                 22
                                                                      8. Cox is a furnisher of information as contemplated by 15 U.S.C. § 1681s-2(b)
                                                                 23

                                                                 24
                                                                          that regularly and in the ordinary course of business furnishes information to

                                                                 25       a consumer credit reporting agency.
                                                                 26
                                                                      9. NCTUE regularly assembles and/or evaluates consumer credit information for
                                                                 27

                                                                 28       the purpose of furnishing consumer credit reports to third parties, and uses
                                                                        Case 2:20-cv-02130-RFB-BNW Document 1 Filed 11/19/20 Page 4 of 16




                                                                         interstate commerce to prepare and/or furnish the reports. Equifax is a
                                                                 1

                                                                 2       “consumer reporting agency” as that term is defined by 15 U.S.C. § 1681a(f),
                                                                 3
                                                                         doing business with its principal place of business in Georgia.
                                                                 4

                                                                 5    10. Unless otherwise indicated, the use of Defendants’ names in this Complaint
                                                                 6
                                                                         includes all agents, employees, officers, members, directors, heirs, successors,
                                                                 7
                                                                         assigns, principals, trustees, sureties, subrogees, representatives, and insurers
                                                                 8

                                                                 9       of Defendants.
                                                                 10
                                                                              NCTUE Failed to Respond to Plaintiff’s Written Dispute
                                                                 11
                                                                      11. In an NCTUE credit report dated July 24, 2020, NCTUE reported inaccurate
KRIEGER LAW GROUP, LLC
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12
                               Henderson, Nevada 89052




                                                                 13
                                                                         information for multiple accounts, including an account Plaintiff held with
                                                                 14
                                                                         DirecTV.
                                                                 15

                                                                 16   12. On or about August 17, 2020, pursuant to 15 U.S.C. § 1681i(a)(2), Plaintiff
                                                                 17
                                                                         disputed NCTUE’s reported information regarding misreported trade lines by
                                                                 18

                                                                 19      notifying NCTUE, in writing, of the incorrect and inaccurate credit
                                                                 20
                                                                         information furnished by NCTUE.
                                                                 21
                                                                      13. Specifically, Plaintiff mailed a written dispute, certified, return receipt, to
                                                                 22

                                                                 23      NCTUE (“Dispute Letter”), requesting disputed inaccurate and incorrect
                                                                 24
                                                                         derogatory information be removed, corrected, or deleted.
                                                                 25

                                                                 26   14. NCTUE was required to conduct an investigation into the disputed accounts
                                                                 27
                                                                         pursuant to 15 U.S.C. § 1681i.
                                                                 28
                                                                        Case 2:20-cv-02130-RFB-BNW Document 1 Filed 11/19/20 Page 5 of 16




                                                                      15. NCTUE thereafter failed to comply with its obligation to provide Plaintiff
                                                                 1

                                                                 2       with the results of any “reinvestigation” completed pursuant to 15 U.S.C. §
                                                                 3
                                                                         1681i(a)(6) relating to the dispute Plaintiff raised in the Dispute Letter
                                                                 4

                                                                 5       regarding the DirecTV account. While NCTUE provided a reinvestigation
                                                                 6
                                                                         dated September 28, 2020, in which it acknowledged receipt of the Dispute
                                                                 7
                                                                         Letter, NCTUE failed to provide Plaintiff with any response to Plaintiff’s
                                                                 8

                                                                 9       dispute regarding his DirecTV account.
                                                                 10
                                                                      16. As a result of NCTUE’s failure to provide a consumer disclosure, NCTUE
                                                                 11
                                                                         negligently failed in its duties as required by and in violation of 15 U.S.C. §
KRIEGER LAW GROUP, LLC
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12
                               Henderson, Nevada 89052




                                                                 13
                                                                         1681i(a)(6).
                                                                 14
                                                                      17. Further, NCTUE willfully failed in its duties as required by and in violation
                                                                 15

                                                                 16      of 15 U.S.C. § 1681i(a) when NCTUE failed to provide written notice to
                                                                 17
                                                                         Plaintiff of the results of a reinvestigation not later than 5 business days after
                                                                 18

                                                                 19      the completion of the reinvestigation (assuming an investigation was
                                                                 20
                                                                         completed), by mail or, if authorized by the consumer for that purpose, by
                                                                 21
                                                                         other means available to the agency. Indeed, NCTUE failed to provide
                                                                 22

                                                                 23      Plaintiff any evidence of any investigation it conducted into the disputes
                                                                 24
                                                                         Plaintiff raised regarding his DirecTV account, thereby shirking NCTUE’s
                                                                 25

                                                                 26      duties under the FCRA.
                                                                 27

                                                                 28
                                                                        Case 2:20-cv-02130-RFB-BNW Document 1 Filed 11/19/20 Page 6 of 16




                                                                                         Cox Misreported Credit Information
                                                                 1

                                                                 2                               RE: Account No. 05055
                                                                 3
                                                                      18. In the same NCTUE credit report dated July 24, 2020, Cox inaccurately
                                                                 4

                                                                 5       reported Plaintiff’s account was “Charged-off” with a “Charge-off” amount
                                                                 6
                                                                         of $327.33, as seen below, despite the fact Plaintiff’s Cox account remained
                                                                 7
                                                                         open and active and Plaintiff was using the hardware which was the basis for
                                                                 8

                                                                 9       Cox’s claim he owed $327.33.
                                                                 10

                                                                 11
KRIEGER LAW GROUP, LLC
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12
                               Henderson, Nevada 89052




                                                                 13

                                                                 14

                                                                 15

                                                                 16
                                                                      19. On or about August 17, 2020, pursuant to 15 U.S.C. § 1681i(a)(2), Plaintiff
                                                                 17
                                                                         disputed Cox’s reported information regarding its reported obligation by
                                                                 18

                                                                 19      notifying NCTUE, in writing, of the incorrect and inaccurate credit
                                                                 20
                                                                         information furnished by Cox.
                                                                 21

                                                                 22   20. Specifically, Plaintiff sent the Dispute Letter, requesting the above inaccurate
                                                                 23
                                                                         and incorrect derogatory information be removed, corrected, or deleted. In
                                                                 24
                                                                         pertinent part, the NCTUE Dispute Letter read as follows:
                                                                 25

                                                                 26

                                                                 27

                                                                 28
                                                                        Case 2:20-cv-02130-RFB-BNW Document 1 Filed 11/19/20 Page 7 of 16




                                                                 1

                                                                 2

                                                                 3

                                                                 4

                                                                 5

                                                                 6
                                                                      21. Upon information and belief, upon receiving the NCTUE Dispute Letter,
                                                                 7

                                                                 8       NCTUE timely notified Cox of the dispute based on its mandated statutory
                                                                 9
                                                                         duty pursuant to 15 U.S.C. § 1681i.
                                                                 10
                                                                      22. Defendants were each required to conduct an investigation into this specific
                                                                 11
KRIEGER LAW GROUP, LLC




                                                                         account on Plaintiff’s consumer report pursuant to 15 U.S.C. § 1681i.
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12
                               Henderson, Nevada 89052




                                                                 13
                                                                      23. On or about September 28, 2020, Plaintiff received notification from NCTUE
                                                                 14

                                                                 15      through its “reinvestigation” (NCTUE Report No. 0409000188) that Cox and
                                                                 16
                                                                         NCTUE received notice of Plaintiff’s dispute pursuant to 15 U.S.C. §
                                                                 17
                                                                         1681i(a)(6), and verified the account as “Updated”. While Cox and NCTUE
                                                                 18

                                                                 19      removed the erroneous charge off amount, it continued reporting Plaintiff’s
                                                                 20
                                                                         account as “charged off” for June and July 2020, as seen below.
                                                                 21

                                                                 22

                                                                 23

                                                                 24

                                                                 25

                                                                 26

                                                                 27

                                                                 28
                                                                        Case 2:20-cv-02130-RFB-BNW Document 1 Filed 11/19/20 Page 8 of 16




                                                                      24. A reasonable investigation by these Defendants would have indicated there
                                                                 1

                                                                 2       was no charge off related to Plaintiff’s Cox account.
                                                                 3
                                                                      25. Cox and NCTUE failed to conduct a reasonable investigation as required by
                                                                 4

                                                                 5       15 U.S.C. §§ 1681s-2(b)(1)(A) (as to Cox) and/or 1681i(a) (as to both Cox
                                                                 6
                                                                         and NCTUE), and wrongly verified inaccurate information in connection with
                                                                 7
                                                                         Plaintiff’s credit reports.
                                                                 8

                                                                 9    26. Cox and NCTUE failed to review all relevant information provided by
                                                                 10
                                                                         Plaintiff in the dispute to NCTUE, as required by and in violation of 15 U.S.C.
                                                                 11
                                                                         §§ 1681s-2(b)(1)(B) and 1681i(a), respectively.
KRIEGER LAW GROUP, LLC
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12
                               Henderson, Nevada 89052




                                                                 13
                                                                      27. Cox and NCTUE re-reported the inaccurate derogatory information on
                                                                 14
                                                                         Plaintiff’s report. Specifically, Cox and NCTUE still reported Plaintiff’s
                                                                 15

                                                                 16      account as “charged off” when it had never been in such status.
                                                                 17
                                                                      28. Upon receipt of Plaintiff’s dispute, Cox and NCTUE failed to conduct an
                                                                 18

                                                                 19      investigation with respect to the disputed information as required by 15 U.S.C.
                                                                 20
                                                                         §§ 1681s-2(b)(1)(B) and/or 1681i(a), respectively.
                                                                 21
                                                                      29. Due to Cox’s and NCTUE’s failure to reasonably investigate Plaintiff’s
                                                                 22

                                                                 23      dispute, they each further failed to correct and update Plaintiff’s information
                                                                 24
                                                                         as required by 15 U.S.C. § 1681s-2(b)(1)(E), thereby causing continued
                                                                 25

                                                                 26      reporting of inaccurate information in violation of 15 U.S.C. §§ 1681-
                                                                 27
                                                                         s(2)(b)(1)(C) and/or 1681e(b), respectively.
                                                                 28
                                                                        Case 2:20-cv-02130-RFB-BNW Document 1 Filed 11/19/20 Page 9 of 16




                                                                      30. Plaintiff’s Dispute Letter also included a statement of dispute as that term is
                                                                 1

                                                                 2       meant pursuant to 15 U.S.C. § 1681i(b). Specifically, Plaintiff requested that
                                                                 3
                                                                         NCTUE include a statement on Plaintiff’s credit report stating that the instant
                                                                 4

                                                                 5       account was disputed in the event NCTUE failed to make the requested
                                                                 6
                                                                         corrections identified in the Dispute Letter.
                                                                 7
                                                                      31. Upon information and belief, NCTUE failed in Plaintiff’s subsequent
                                                                 8

                                                                 9       consumer reports containing the above disputed information to clearly note
                                                                 10
                                                                         that this account was disputed by Plaintiff and provide either Plaintiff’s
                                                                 11
                                                                         dispute statement or a clear and accurate codification or summary of the
KRIEGER LAW GROUP, LLC
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12
                               Henderson, Nevada 89052




                                                                 13
                                                                         dispute in violation of NCTUE’s statutory obligations under 15 U.S.C. §
                                                                 14
                                                                         1681i(c).
                                                                 15

                                                                 16   32. Reporting and re-reporting the above-referenced derogatory information
                                                                 17
                                                                         also constituted a violation of 15 U.S.C. § 1681g(a) because the lack of
                                                                 18

                                                                 19      clarity in the information reported and re-reported has the tendency to
                                                                 20
                                                                         confuse ordinary consumers like Plaintiff.
                                                                 21
                                                                      33. Despite Plaintiff’s continued efforts to correct Cox’s and NCTUE’s
                                                                 22

                                                                 23      erroneous and negative reporting of the Cox account in writing, Cox and
                                                                 24
                                                                         NCTUE neglected, refused, or failed to do so.
                                                                 25

                                                                 26

                                                                 27

                                                                 28
                                                                       Case 2:20-cv-02130-RFB-BNW Document 1 Filed 11/19/20 Page 10 of 16




                                                                      34. Cox’s and NCTUE’s continued inaccurate and negative reporting of the Cox
                                                                 1

                                                                 2       debt in light of their knowledge of the actual error was willful. Plaintiff is,
                                                                 3
                                                                         accordingly, eligible for statutory damages.
                                                                 4

                                                                 5    35. Also as a result of Cox’s and NCTUE’s continued inaccurate and negative
                                                                 6
                                                                         reporting, Plaintiff has suffered actual damages, including without limitation
                                                                 7
                                                                         fear of credit denials, out-of-pocket expenses in challenging Defendants’
                                                                 8

                                                                 9       wrongful representations, damage to his creditworthiness, and emotional
                                                                 10
                                                                         distress.
                                                                 11
                                                                      36. By inaccurately reporting account information relating to the Cox debt after
KRIEGER LAW GROUP, LLC
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12
                               Henderson, Nevada 89052




                                                                 13
                                                                         notice and confirmation of their errors, Cox and NCTUE failed to take
                                                                 14
                                                                         appropriate measures as required under 15 U.S.C. §§ 1681-s(2)(b)(1)(D)
                                                                 15

                                                                 16      and/or (E), 1681i(a), and 1681e(b), respectively.
                                                                 17
                                                                                                FIRST CAUSE OF ACTION
                                                                 18                  VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                                                 19                         15 U.S.C. § 1681 ET SEQ. (FCRA)
                                                                 20
                                                                      37. Plaintiff incorporates by reference all of the above paragraphs of this
                                                                 21
                                                                         Complaint as though fully stated herein.
                                                                 22

                                                                 23   38. Additionally, Defendant’s inaccurate reporting did not comply with industry
                                                                 24
                                                                         standard.    The Consumer Data Industry Association (“CDIA”) provides
                                                                 25

                                                                 26      reporting standards and guidelines to assist furnishers of information and
                                                                 27
                                                                         credit reporting agencies with their compliance requirements under the FCRA
                                                                 28
                                                                       Case 2:20-cv-02130-RFB-BNW Document 1 Filed 11/19/20 Page 11 of 16




                                                                         and published and implemented the Metro 2 Format reporting standards
                                                                 1

                                                                 2       (“Metro 2 Format”).
                                                                 3
                                                                      39. Courts rely on such standards to determine furnisher liability. See e.g. In re
                                                                 4

                                                                 5       Helmes, 336 B.R. 105, 107 (Bankr. E.D. Va. 2005).
                                                                 6
                                                                      40. On information and belief, Defendants adopted the Metro 2 Format reporting
                                                                 7
                                                                         standards and at all times relevant implemented the Metro 2 Format as an
                                                                 8

                                                                 9       integral aspect of their duties under FCRA, which requires adequate and
                                                                 10
                                                                         reasonable policies and procedures be in place to handle investigations of
                                                                 11
                                                                         disputed information.
KRIEGER LAW GROUP, LLC
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12
                               Henderson, Nevada 89052




                                                                 13
                                                                      41. Defendants failed to comply with industry standards. Defendants failed to
                                                                 14
                                                                         comply with the Metro 2 Format instructions and reported inaccurate
                                                                 15

                                                                 16      information, thus violating their duty to follow reasonable procedures to
                                                                 17
                                                                         assure maximum possible accuracy under 15 U.S.C. § 1681e(b) when
                                                                 18

                                                                 19      preparing a consumer report.
                                                                 20
                                                                      42. Not only was Defendants’ reporting inaccurate and a departure from the
                                                                 21
                                                                         credit industry’s own reporting standards, Defendants’ reporting was also
                                                                 22

                                                                 23      materially misleading under the CDIA’s standards as well.
                                                                 24
                                                                      43. To this end, the adverse reporting on Plaintiff’s consumer report departed
                                                                 25

                                                                 26      from the credit industry’s own reporting standards and was not only
                                                                 27
                                                                         inaccurate, but also materially misleading under the CDIA’s standards as well.
                                                                 28
                                                                       Case 2:20-cv-02130-RFB-BNW Document 1 Filed 11/19/20 Page 12 of 16




                                                                      44. A "materially misleading" statement is more than just inaccuracies in
                                                                 1

                                                                 2       reported information.     It also includes omissions that cause reported
                                                                 3
                                                                         information to be misleading or that create misperceptions about otherwise
                                                                 4

                                                                 5       factually accurate data. Gorman v. Wolpoff & Abramson, LLP, 584 F.3d 1147,
                                                                 6
                                                                         1163 (9th Cir. 2009).
                                                                 7
                                                                      45. Defendants failed to conduct a reasonable investigation as required by 15
                                                                 8

                                                                 9       U.S.C. §§ 1681s-2(b)(1)(A) and/or 1681i(a), and wrongly verified inaccurate
                                                                 10
                                                                         information in connection with Plaintiff’s credit reports.
                                                                 11
                                                                      46. Defendants failed to review all relevant information provided by Plaintiff in
KRIEGER LAW GROUP, LLC
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12
                               Henderson, Nevada 89052




                                                                 13
                                                                         the dispute to Defendants, as required by and in violation of 15 U.S.C. §
                                                                 14
                                                                         1681i(a).
                                                                 15

                                                                 16   47. Defendants re-reported the inaccurate derogatory information on Plaintiff’s
                                                                 17
                                                                         report. Specifically, Defendants still reported scheduled payment amounts on
                                                                 18

                                                                 19      debts that has been paid in full and/or had been discharged in Bankruptcy.
                                                                 20
                                                                      48. Upon receipt of Plaintiff’s dispute, Defendants failed to conduct an
                                                                 21
                                                                         investigation with respect to the disputed information as required by 15 U.S.C.
                                                                 22

                                                                 23      §§ 1681s-2(b)(1)(B) and/or 1681i(a).
                                                                 24
                                                                      49. Due to Defendants’ failure to reasonably investigate Plaintiff’s dispute, they
                                                                 25

                                                                 26      each further failed to correct and update Plaintiff’s information as required by
                                                                 27
                                                                         15 U.S.C. § 1681s-2(b)(1)(E), thereby causing continued reporting of
                                                                 28
                                                                       Case 2:20-cv-02130-RFB-BNW Document 1 Filed 11/19/20 Page 13 of 16




                                                                         inaccurate information in violation of 15 U.S.C. §§ 1681-s(2)(b)(1)(C) and/or
                                                                 1

                                                                 2       1681e(b).
                                                                 3
                                                                      50. Plaintiff’s Dispute Letter also included a statement of dispute as that term is
                                                                 4

                                                                 5       meant pursuant to 15 U.S.C. § 1681i(b). Specifically, Plaintiff requested
                                                                 6
                                                                         Equifax/Experian/TransUnion include a statement on Plaintiff’s credit report
                                                                 7
                                                                         stating the instant account was disputed in the event NCTUE failed to make
                                                                 8

                                                                 9       the requested corrections identified in the Dispute Letter.
                                                                 10
                                                                      51. Upon information and belief, NCTUE failed in Plaintiff’s subsequent
                                                                 11
                                                                         consumer reports containing the above disputed information to clearly note
KRIEGER LAW GROUP, LLC
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12
                               Henderson, Nevada 89052




                                                                 13
                                                                         this account was disputed by Plaintiff and provide either Plaintiff’s dispute
                                                                 14
                                                                         statement or a clear and accurate codification or summary of the dispute in
                                                                 15

                                                                 16      violation of NCTUE’s statutory obligations under 15 U.S.C. § 1681i(c).
                                                                 17
                                                                      52. Reporting and re-reporting the above-referenced derogatory information also
                                                                 18

                                                                 19      constituted a violation of 15 U.S.C. § 1681g(a) because the lack of clarity in
                                                                 20
                                                                         the information reported and re-reported has the tendency to confuse ordinary
                                                                 21
                                                                         consumers like Plaintiff.
                                                                 22

                                                                 23   53. Despite Plaintiff’s efforts to correct Defendants’ erroneous and negative
                                                                 24
                                                                         reporting in writing, Defendants neglected, refused, or failed to do so.
                                                                 25

                                                                 26

                                                                 27

                                                                 28
                                                                       Case 2:20-cv-02130-RFB-BNW Document 1 Filed 11/19/20 Page 14 of 16




                                                                      54. Defendants’ continued inaccurate and negative reporting of the Debts in light
                                                                 1

                                                                 2       of their knowledge of the actual error was willful. Plaintiff is, accordingly,
                                                                 3
                                                                         eligible for statutory damages.
                                                                 4

                                                                 5    55. Also as a result of Defendants’ continued inaccurate and negative reporting,
                                                                 6
                                                                         Plaintiff has suffered actual damages, including without limitation fear of
                                                                 7
                                                                         credit denials, out-of-pocket expenses in challenging Defendants’ wrongful
                                                                 8

                                                                 9       representations, damage to his creditworthiness, and emotional distress.
                                                                 10
                                                                      56. By inaccurately reporting account information relating to the discharged debt
                                                                 11
                                                                         after notice and confirmation of their errors, Defendants failed to take the
KRIEGER LAW GROUP, LLC
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12
                               Henderson, Nevada 89052




                                                                 13
                                                                         appropriate measures as required under 15 U.S.C. §§ 1681-s(2)(b)(1)(D)
                                                                 14
                                                                         and/or (E), 1681i(a) and 1681e(b).
                                                                 15

                                                                 16   57. The foregoing acts and omissions constitute numerous and multiple willful,
                                                                 17
                                                                         reckless or negligent violations of the FCRA, including but not limited to each
                                                                 18

                                                                 19      and every one of the above-cited provisions of the FCRA, 15 U.S.C. § 1681.
                                                                 20
                                                                      58. As a result of each and every willful violation of the FCRA, Plaintiff is
                                                                 21
                                                                         entitled to actual damages as the Court may allow pursuant to 15 U.S.C. §
                                                                 22

                                                                 23      1681n(a)(1); statutory damages pursuant to 15 U.S.C. § 1681n(a)(1); punitive
                                                                 24
                                                                         damages as the Court may allow pursuant to 15 U.S.C. § 1681n(a)(2); and
                                                                 25

                                                                 26      reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1681n(a)(3) from
                                                                 27
                                                                         Defendants.
                                                                 28
                                                                             Case 2:20-cv-02130-RFB-BNW Document 1 Filed 11/19/20 Page 15 of 16




                                                                            59. As a result of each and every negligent noncompliance of the FCRA, Plaintiff
                                                                 1

                                                                 2             is entitled to actual damages as the Court may allow pursuant to 15 U.S.C. §
                                                                 3
                                                                               1681o(a)(1); and reasonable attorney’s fees and costs pursuant to 15 U.S.C. §
                                                                 4

                                                                 5             1681o(a)(2) from Defendants.
                                                                 6
                                                                                                       PRAYER FOR RELIEF
                                                                 7
                                                                               Plaintiff respectfully requests the Court grant Plaintiff the following relief
                                                                 8

                                                                 9
                                                                      against Defendants:

                                                                 10                                FIRST CAUSE OF ACTION
                                                                 11                      VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                                                                                15 U.S.C. § 1681 ET SEQ. (FCRA)
KRIEGER LAW GROUP, LLC
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12

                                                                              • actual damages pursuant to 15 U.S.C. § 1681n(a)(1);
                               Henderson, Nevada 89052




                                                                 13

                                                                 14
                                                                              • statutory damages pursuant to 15 U.S.C. § 1681n(a)(1);
                                                                 15

                                                                 16           • punitive damages as the Court may allow pursuant to 15 U.S.C. §
                                                                 17
                                                                                 1681n(a)(2);
                                                                 18
                                                                              • costs of litigation and reasonable attorney’s fees, pursuant to 15 U.S.C. §
                                                                 19

                                                                 20              1681n(a)(3), and 15 U.S.C. § 1681(o)(a)(1) against Defendant for each
                                                                 21
                                                                                 incident of negligent noncompliance of the FCRA; and
                                                                 22

                                                                 23           • any other relief the Court may deem just and proper.
                                                                 24

                                                                 25

                                                                 26

                                                                 27   ///
                                                                 28
                                                                         Case 2:20-cv-02130-RFB-BNW Document 1 Filed 11/19/20 Page 16 of 16




                                                                                                         TRIAL BY JURY
                                                                 1

                                                                 2
                                                                        60. Pursuant to the Seventh Amendment to the Constitution of the United States

                                                                 3         of America, Plaintiff is entitled to, and demands, a trial by jury.
                                                                 4

                                                                 5    Dated: November 19, 2020
                                                                 6

                                                                 7
                                                                                                            Respectfully submitted,

                                                                 8                                          By     /s/ David Krieger, Esq.
                                                                 9                                                 David Krieger, Esq.
                                                                                                                   Nevada Bar No. 9086
                                                                 10                                                Shawn Miller, Esq.
                                                                 11                                                Nevada Bar No. 7825
                                                                                                                   KRIEGER LAW GROUP, LLC
KRIEGER LAW GROUP, LLC
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12
                                                                                                                   2850 W. Horizon Ridge Parkway
                                                                                                                   Suite 200
                               Henderson, Nevada 89052




                                                                 13

                                                                 14
                                                                                                                   Henderson, Nevada 89052
                                                                                                                   Phone: (702) 848-3855
                                                                 15                                                Email: dkrieger@kriegerlawgroup.com
                                                                 16                                                Email: smiller@kriegerlawgroup.com
                                                                 17

                                                                 18

                                                                 19

                                                                 20

                                                                 21

                                                                 22

                                                                 23

                                                                 24

                                                                 25

                                                                 26

                                                                 27

                                                                 28
